                        UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF PENNSYLVANIA
In re:


W.C. Ventures LLC,                                          Chapter          7
fdba Top's Diner,

                 Debtor 1                                   Case No.         1:22−bk−00572−HWV


Social Security No.:

Employer's Tax I.D. No.:
                             86−1163779


                                             FINAL DECREE

The estate of the above named debtor(s) has been fully administered.

IT IS ORDERED THAT:
                                                   Leon P. Haller


is discharged as trustee of the estate of the above named debtor(s); and the chapter 7 case of the above named
debtor(s) is closed.

                                                           By the Court,




                                                           Henry W. Van Eck, Chief Bankruptcy Judge

                                                           Dated: June 28, 2023
fnldec (01/22)




      Case 1:22-bk-00572-HWV Doc 37 Filed 06/28/23 Entered 06/28/23 08:03:45                               Desc
                           Final Decree Closing Case Page 1 of 1
